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                                                                                                  Is
       Attorneys for Defendant, ALEXANDER SMIRNOV F
 9

101| UNITED STATES DISTRICT COURT
             CENTRAL DISTRICT OF CALIFORNIA
                                           ******

121 UNITED STATES OF AMERICA, )
131                                    )
14|| Plaintiff, )
                                             ) CASE NO. 2:24-CR-00091-ODW
151                      „       (     —.—
       V.                            )
I61 ) FRAP 9(a) APPEAL
171 ALEXANDER SMIRNOV, )
                                             )


191 _)
isl                 „„   .   )
                     Defendant, )


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21                   DEFENDANT'S NOTICE OF FRAP 9(a) APPEAL

22
             Notice is hereby given that Alexander Smirnov, Defendant herein, pursuant
23
       to FRAP 9(a) and 18 U.S.C. § 3145, hereby appeals to the United States Court of
24 I
25 |[ Appeals for the Ninth Circuit from the Order granting the Government's Application

       for Review of Magistrate Judge's Bail Order and resulting Order of Detention, which
27 I
       was orally pronounced on February 26, 2024 and all related orders and adverse
                                                 1
  Case 2:24-cr-00091-ODW          Document 41     Filed 02/29/24   Page 2 of 4 Page ID #:909




 11 findings. See also ECf 38, 40. In an abundance of caution, Defendant also appeals

 2|
       from the District Court's Order Setting Hearing on Government's Motion for
 3
       Review of Release Order (ECF 27) and Warrant for Arrest, entered on February 22,


       2024.

               No Minute Order of Detention or written Statement of Reasons for detention


       has been filed by the District Court.

 9             Dated this 29th day of February, 2024.
10]
                                               Respectfully Submitted:


121| CHESNOFF & SCHONFELD
13

14                                             /s/ Richard A. Schonfeld
                                               DAVID Z. CHESNOFF, ESQ.
15|| —^/————,
                                               Pro Hoc Vice
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                                               Attorneys for Defendant
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23 I
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 11| CERTIFICATE OF SERVICE
 2
             I hereby certify that on this 29th day of February, 2024, I caused the forgoing

 41| document to be filed electronically with the Clerk of the Court through the CM/ECF

       system for filing; and served on counsel of record via the Court's CM/ECF system \_
 6I
       including:

 81| Derek Edward Hines ^
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  Case 2:24-cr-00091-ODW          Document 41     Filed 02/29/24   Page 4 of 4 Page ID #:911




             A copy of the foregoing was also served via First Class U.S. Mail postage
 2
       prepaid to the individuals listed above.
 3

 4
                                        /s/ Rosemary Reyes
                                        Employee of Chesnoff & Schonfeld
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